                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                No. 07-CR-1023-LRR
 vs.
                                                                  ORDER
 ORLANDO BIRBRAGHER,
 MARSHALL NEIL KANNER,
 DOUGLAS WILLIS BOUCHEY,
 ARMANDO ANGULO and PETER
 COLON LOPEZ,
                Defendants.
                                  ____________________

        On December 6, 2007, the undersigned held a telephonic status and scheduling
conference (“Hearing”) in this matter. Assistant United States Attorney Stephanie M.
Rose represented the government. Attorneys Richard J. Diaz, Alan S. Ross, Michael K.
Lahammer, and Raphael M. Scheetz represented Defendants. Defendants were not
personally present.
        Trial is presently scheduled to commence at some point during the two-week period
beginning on January 14, 2008. The Final Pretrial Conference is set for 8:30 a.m. on the
first day of trial. A Status Hearing is set for January 3, 2008, at noon.
        At the Hearing, the government and each Defendant except Defendant Orlando
Birbragher made a joint oral motion to continue the trial. The court granted the motion.
        The court finds that “[t]he ends of justice served by” continuing the trial date as to
all Defendants in this case “outweigh[s] the best interest of the public and [D]efendant[s]
in a speedy trial.” 18 U.S.C. § 3161(h)(8)(A). The court makes such finding based upon
the court’s discussions with counsel, including the government’s uncontested oral proffer
to the court regarding the nature and size of the discovery materials that form the basis for



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the pending charges in the Indictment.
       The Indictment charges five defendants in a complex criminal conspiracy with a
nationwide scope. See Indictment (docket no. 2-1), passim. Specifically, the Indictment
alleges that Defendants conspired to illegally distribute prescription drugs on the Internet
through a company called “Pharmacom.” Id. at ¶ 13. Pharmacom allegedly manufactured
more than 246,000 “prescriptions” for controlled substances during the conspiracy period.
Id. at ¶ 14. Such “prescriptions” resulted in the dispensing of more than 12.5 million
Schedule III dosage units and more than 1.9 million Schedule IV dosage units. Id. The
government alleges that criminal acts occurred throughout the country and proffers to the
                                                                  1
court that the discovery materials in this case exceed a terabyte of electronic information.
       The court finds that it is unreasonable to expect defense counsel to prepare
adequately for the pending pretrial proceedings and for the trial itself within the time limits
established by the Speedy Trial Act, 18 U.S.C. § 3161, et seq. The court is sensitive to
the fact that Defendant Birbragher is detained without bond pending trial. See Order
(docket no. 48). This circumstance, however, is outweighed by the complexity of the case
and the sheer volume of the discovery materials. See 18 U.S.C. § 3161(h)(8)(B)(ii) and
(iv); see, e.g., United States v. Gamboa, 439 F.3d 796, 803 (8th Cir. 2006) (affirming
continuance of trial date); United States v. Fogarty, 692 F.2d 542, 546 (8th Cir. 1982)
(affirming continuance of trial date as to all defendants where no motion for severance was
granted and trial was continued on motion of co-defendants in a case involving seven co-
defendants, ten unindicted co-conspirators, forty-five overt acts and seven states and
foreign countries).
       Trial is continued to July 6, 2008. The court has reserved the entire months of July
and August for trial. The exact times of trial have not yet been determined and will be
provided to the parties on a date closer to July 6, 2008.

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           A terabyte is one trillion bytes or one thousand gigabytes.

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      The previously scheduled Status Conference and Final Pretrial Conference are
cancelled. The court will hold a Final Pretrial Conference on June 13, 2008, at 10 a.m.,
in the Third Floor Courtroom. Pretrial motions are due on April 1, 2008.
      Defendant Orlando Birbragher’s “Motion to Allow Attorney Richard J. Diaz to
Appear at the January 3, 2008 Status Hearing Through Attorney Alan Ross, Counsel for
Co-Defendant Marshall Kanner, or to Appear by Phone, or Atltenatively [sic] to Reset the
Status [sic] for Another Two Days” (docket no. 36) is DENIED AS MOOT.
      IT IS SO ORDERED.
      DATED this 10th day of December, 2007.




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